
61 So. 3d 1278 (2011)
Damian SIMMS, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D11-1258.
District Court of Appeal of Florida, Fifth District.
May 27, 2011.
*1279 Robert Wesley, Public Defender and Migdalia Perez, Assistant Public Defender, Kissimmee, for Petitioner.
Pamela J. Bondi, Attorney General, Tallahassee and Wesley Heidt, Assistant Attorney General, Daytona Beach, for Respondent.
PER CURIAM.
The petition for belated appeal is granted. A copy of this opinion shall be filed with the trial court and be treated as the notice of appeal from the judgment and sentence in case number 2009-CF-1327-A-OS, in the Circuit Court in and for Osceola County, Florida. See Fla. R.App. P. 9.141(c)(5)(D).
PETITION GRANTED.
MONACO, C.J., TORPY and EVANDER, JJ., concur.
